       Case 1:22-cr-00062-JMC          Document 1-1        Filed 02/12/21      Page 1 of 5




                                   STATEMENT OF FACTS
        Your affiant, STEWART CURCIO, is a special agent with the Federal Bureau of
Investigation currently assigned to the Washington Field Office (WFO) in Washington D.C. and
on the Violent Crimes Task Force. In my duties as a special agent, I have investigated a variety of
violent crimes, including kidnappings, carjacking, fugitive cases, and other crimes of violence
involving deadly weapons. Currently, I am a tasked with investigating criminal activity in and
around the Capitol grounds on January 6, 2021. As a Special Agent for the FBI, I am authorized
by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.
       As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As
noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.
       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.
       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the
United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President
Pence remained in the United States Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.
       Case 1:22-cr-00062-JMC           Document 1-1        Filed 02/12/21      Page 2 of 5




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                       BACKGROUND
                                   Raechel Genco (DOB XX/XX/1983)
        Following an investigation, Ryan Stephen Samsel (“SAMSEL”) was charged by complaint
on January 29, 2021, with violating 18 USC § 111, 18 USC § 231(a)(3), and 18 USC § 1512(c)(2)
relating to SAMSEL’s activities at the U.S. Capitol on January 6, 2021. SAMSEL was arrested
on those charges on January 30, 2021. During that investigation, the FBI discovered that Raechel
Genco (“GENCO”) had traveled to Washington, D.C. with SAMSEL on January 6, 2021.
Following SAMSEL’S arrest, while at GENCO’s residence, your affiant observed and met
GENCO.
      Footage taken in Washington, D.C. on January 6, 2021 depicts an individual I recognize
as GENCO walking with SAMSEL in Washington. D.C.:




      Figure 1: Image of GENCO with SAMSEL on January 6, 2021, in Washington, D.C.

       At approximately 12:45 p.m. on January 6, 2021, as the proceedings described above
continued in the House and the Senate, a large crowd gathered to the West of the U.S. Capitol
around the Peace Monument, located in the Pennsylvania Ave NW and 1st St. NW roundabout,
that was commonly referred to as “Peace Circle” by U.S. Capitol Police Officers.

       The crowd then moved southeast along the sidewalk that connects Peace Circle to the U.S.
Capitol Building, commonly referred to as the “Pennsylvania Ave Walkway” by U.S. Capitol
Police Officers. The crowd walked over barricades designed to close the sidewalk access to and
maintain a buffer zone from the U.S. Capitol Grounds perimeter fence line. This fence line was
intended to keep the public away from the Capitol building and the Congressional proceedings
underway inside. The fence line was manned by uniformed U.S. Capitol Police Officers and was
constructed of metal bike rack barriers, physically linked end to end, and reinforced with dark
colored plastic mesh safety fencing affixed behind the metal bike racks. The fence line was clearly
marked with large white “AREA CLOSED” signs affixed to the fencing with bold red lettering.
       Case 1:22-cr-00062-JMC          Document 1-1       Filed 02/12/21      Page 3 of 5




        At approximately 12:50 p.m., SAMSEL and another individual were observed leading the
crowd up to the fence line, and after a brief struggle with uniformed U.S. Capitol Police Officers,
up and over the barricades. Prior to this approach, GENCO can be seen following behind SAMSEL
as he walks toward the barriers (see figure 2 below). The crowd was not lawfully authorized to
enter or remain on the U.S. Capitol grounds and prior to entering the grounds, no members of the
crowd submitted to security screenings or weapons checks by U.S. Capitol Police Officers or other
authorized security officials.



                      SAMSEL




                                                                                       GENCO




Figure 2: SAMSEL Confronting Uniformed U.S. Capitol Police Officers and GENCO behind to
                                      the right.

        After arguing with a U.S. Capitol Police Officer, SAMSEL became visibly agitated and
aggressively began to push and pull on the barricades. After unsuccessful attempts to tear down
the barricade, SAMSEL removed his light blue jacket, revealing a long sleeve white hooded shirt
under a black shirt. After removing his jacket, SAMSEL begins leading the crowd in violently
pushing and pulling the barricades until the crowd successfully pushed the barricades down.
SAMSEL can be seen advancing further into the U.S. Capitol Grounds, which remained closed to
the public. Your affiant later observed GENCO in footage also advancing further in the U.S.
Capitol Grounds, past these barriers.

       The area where GENCO was walking, as depicted below, was restricted and not open to
the public on January 6, 2021 (see figure 4 below).
       Case 1:22-cr-00062-JMC          Document 1-1        Filed 02/12/21       Page 4 of 5




        Figure 3: GENCO beyond the initial police barriers and on restricted Capitol grounds


       As described above, SAMSEL was subsequently charged and arrested for his activities at
the Capitol. On January 30, 2021, the FBI executed a residential search warrant at the residence
where SAMSEL lives with GENCO and GENCO’s family. During that search, your affiant met
both SAMSEL and GENCO (DOB XX/XX/1983) and the person depicted in the photographs
above appears to be GENCO. SAMSEL agreed to speak to law enforcement and stated that he and
GENCO drove from Pennsylvania to Washington D.C., on the morning of January 6, 2021 in
GENCO’s Dodge Charger. Contrary to the footage described above, SAMSEL claimed that
GENCO did not pass any barriers.
       Case 1:22-cr-00062-JMC          Document 1-1       Filed 02/12/21      Page 5 of 5




        Based on the foregoing, your affiant submits that there is probable cause to believe that
Raechel Genco (DOB XX/XX/1983) violated 18 U.S.C. § 1752(a)(1), and (2), which makes it a
crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions.




                                                            Stewart Curcio
                                                            Special Agent
                                                            Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 12th day of February 2021.
                                                                           2021.02.12
                                                                           15:19:20 -05'00'
                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE
